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Joseph N. DiVincenzo, Jr.                          e                                    Jerome M. St. John
  Essex County Executive                                                               Essex County Counsel



                                                    May 21, 2025

Hon. Jamel K. Semper, U.S.D.J.
Frank R. Lautenberg U.S. Post Office & Courthouse
2 Federal Square
Newark, NJ 07102

        Re:      City of Newark v. Geo Group, LLC
                 Civil Action No. 2:25-cv-2225-JKS-LDW

Dear Judge Semper:

       I am an Assistant Essex County Counsel representing the Essex County Construction Board.

     Presently there are several cases stemming from Code Enforcement Actions by the City of
Newark concerning the old Delany Hall property.

       I have come to understand that there is pending before Your Honor’s Court an action to
adjudicate the rights of the parties.

       This letter is an inquiry as to whether the Court wishes to issue an Order to stay the State
Court action due to Federal questions.

       In the absence of a Federal ruling the Construction Board is prepared to decide whether they
have jurisdiction at their next meeting on June 24, 2025.


                                                    Respectfully submitted,

                                                    s/Alan Ruddy__________
                                                    Alan Ruddy
                                                    Assistant County Counsel
AR/gs                                               (973) 621-5021
cc/all counsel




                               ESSEX COUNTY IS AN EQUAL OPPORTUNITY EMPLOYER
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